         Case 2:13-cr-00368-JAD-VCF          Document 105        Filed 04/24/17     Page 1 of 1




1                                      UNITED STATES DISTRICT COURT

2                                          DISTRICT OF NEVADA

3                                                     ***

4

5
      UNITED STATES OF AMERICA,
6
                          Plaintiff,
7                                                        2:13-cr-00368-JAD-VCF
      vs.                                                MINUTE ORDER
8     WILLIAM C. THOMPSON,
9                          Defendant.
10

11

12          Before the Court is Defendant William C. Thompson’s Second Motion for Hearing to Evaluate
13   Conditions of Incarceration. (ECF No. 98).
14          IT IS HEREBY ORDERED that the hearing on Defendant William C. Thompson’s Second Motion
15   for Hearing to Evaluate Conditions of Incarceration (ECF No. 98) scheduled for 1:00 PM, April 27,
16   2017, is RESCHEDULED to 9:30 AM, April 27, 2017, in Courtroom 3D.
17          The U.S. Marshal is directed to transport defendant to and from the hearing
18          DATED this 24th day of April, 2017.
19
                                                                _________________________
20
                                                                CAM FERENBACH
21
                                                                UNITED STATES MAGISTRATE JUDGE

22

23

24

25
